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                                                     February 17, 2022


  VIA EMAIL AND ECF


  Special Master Thomas P. Scrivo, Esq.
  O’Toole Scrivo, LLC
  14 Village Park Road
  Cedar Grove, New Jersey 07009
  tscrivo@oslaw.com
         RE:    Occidental Chemical Corp. v. 21st Century Fox Am., Inc., et al., Civil Action
                No. 2:18-cv-11273-MCA-LDW

  Dear Special Master Scrivo:

         I write to provide the SPG’s position regarding supplemental submissions on the Motion
  to Stay. To balance the interest in obtaining a decision soon (e.g. seven days from the last
  conference) with the need to make sure you have all the relevant information to render an
  appropriate decision, the SPG proposes that parties be allowed to submit short supplemental
  submissions limited to no more than two pages by 12pm EST Tuesday, February 22. No responses
  should be permitted.

         Thank you for providing the SPG additional time to consider this issue.



                                                     Very truly yours,




                                                     Jeffrey Talbert
